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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION

 MAXELL, LTD.,

         Plaintiff,
                                                      CIVIL ACTION NO. 6:21-cv-347-ADA
 v.                                                   [LEAD CASE]

 AMPEREX TECHNOLOGY LIMITED,                          JURY TRIAL DEMANDED

         Defendant.


 AMPEREX TECHNOLOGY LIMITED,

         Plaintiff,
                                                      CIVIL ACTION NO. 6:21-cv-1007-ADA
 v.
                                                      JURY TRIAL DEMANDED
 MAXELL, LTD.,

         Defendant.


                                     PROTECTIVE ORDER

       WHEREAS, Plaintiff Maxell, Ltd. and Defendant Amperex Technology Limited, hereafter

referred to as “the Parties” or each individually as a “Party,” believe that certain information that

is or will be encompassed by discovery demands by the Parties involves the production or

disclosure of trade secrets, confidential business information, or other proprietary information in

the above-captioned litigations (the “Action”);

       WHEREAS, the Parties seek a protective order limiting disclosure thereof in accordance

with Federal Rule of Civil Procedure 26(c);

       THEREFORE, it is hereby stipulated among the Parties and ORDERED that:

1.     Each Party may designate as confidential for protection under this Order, in whole or in



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       part, any document, information, or material that constitutes or includes, in whole or in

       part, confidential or proprietary information or trade secrets of the Party or a Third Party

       to whom the Party reasonably believes it owes an obligation of confidentiality with respect

       to such document, information, or material (“Protected Material”). Protected Material shall

       be designated by the Party producing it by affixing a legend or stamp on such document,

       information, or material as follows: “CONFIDENTIAL,” “CONFIDENTIAL -

       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

       ONLY.” The words “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES

       ONLY,” or “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” shall be placed

       clearly on each page of the Protected Material (except deposition and hearing transcripts)

       for which such protection is sought. For deposition and hearing transcripts, the words

       “CONFIDENTIAL,”          “CONFIDENTIAL        -   ATTORNEYS’         EYES     ONLY,”     or

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” shall be placed on the cover

       page of the transcript (if not already present on the cover page of the transcript when

       received from the court reporter) by each attorney receiving a copy of the transcript after

       that attorney receives notice of the designation of some or all of that transcript as

       “CONFIDENTIAL,”          “CONFIDENTIAL        -   ATTORNEYS’         EYES     ONLY,”     or

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY.” All Protected Material not

       reduced to documentary, tangible, or physical form or which cannot be conveniently

       designated shall be designated by the producing Party by informing the receiving Party of

       the designation in writing.

2.     Any document produced before issuance of this Order, including pursuant to the Court’s

       Order Governing Proceedings - Patent Case, with the designation “Confidential” or the



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       like shall receive the same treatment as if designated “CONFIDENTIAL” under this

       order and any such documents produced with the designation “Confidential - Outside

       Attorneys’ Eyes Only” shall receive the same treatment as if designated

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” under this Order, unless

       and until such document is re-designated to have a different classification under this

       Order.

3.     With respect to documents, information, or material designated “CONFIDENTIAL,”

       “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY” (“DESIGNATED MATERIAL”), 1 subject to the provisions

       herein and unless otherwise stated, this Order governs, without limitation: (a) all documents,

       electronically stored information, and/or things as defined by the Federal Rules of Civil

       Procedure; (b) all pretrial, hearing or deposition testimony, or documents marked as exhibits

       or for identification in depositions and hearings; (c) pretrial pleadings, exhibits to pleadings

       and other court filings; (d) affidavits; and (e) stipulations. All copies, reproductions, extracts,

       digests, and complete or partial summaries prepared from any DESIGNATED

       MATERIALS shall also be considered DESIGNATED MATERIAL and treated as such

       under this Order.

4.     A designation of Protected Material (i.e., “CONFIDENTIAL,” “CONFIDENTIAL -

       ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

       ONLY”) may be made at any time. Inadvertent or unintentional production of documents,




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  The term DESIGNATED MATERIAL is used throughout this Protective Order to refer to the
class of materials designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES
ONLY,” or “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” individually and
collectively.

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       information, or material that has not been designated as DESIGNATED MATERIAL shall

       not be deemed a waiver in whole or in part of a claim for confidential treatment. Any Party

       that inadvertently or unintentionally produces Protected Material without designating it as

       DESIGNATED MATERIAL may request destruction of that Protected Material by

       notifying the recipient(s) as soon as reasonably possible after the producing Party becomes

       aware of the inadvertent or unintentional disclosure, and providing replacement Protected

       Material that is properly designated. The recipient(s) shall then destroy all copies of the

       inadvertently or unintentionally produced Protected Materials and any documents,

       information, or material derived from or based thereon, and within two (2) business days

       notify the producing Party in writing that it has done so.

5.     “CONFIDENTIAL” documents, information, and material may be disclosed only to the

       following persons, except upon receipt of the prior written consent of the designating Party,

       upon order of the Court, or as set forth in paragraph 15 herein:

       (a)    Outside counsel of record in this Action for the Parties.

       (b)    Employees of such counsel assigned to and reasonably necessary to assist such
              counsel in the litigation of this Action.

       (c)    In-house counsel for the Parties who either have responsibility for making decisions
              dealing directly with the litigation of this Action, or who are assisting outside
              counsel in the litigation of this Action.

       (d)    Up to and including three (3) designated representatives of each of the Parties to the
              extent reasonably necessary for the litigation of this Action, except that any Party
              may in good faith request the other Party’s consent to designate one or more
              additional representatives, the other Party shall not unreasonably withhold such
              consent, and the requesting Party may seek leave of Court to designate such
              additional representative(s) if the requesting Party believes the other Party has
              unreasonably withheld such consent.

       (e)    Outside consultants or experts (i.e., not existing employees or affiliates of a Party)
              retained for the purpose of this litigation and employees of such outside consultants
              or experts assigned to and reasonably necessary to assist such outside consultants


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             or experts in this Action, provided that: (1) such consultants or experts are not
             presently employed by the Parties, an affiliate of a Party hereto, or a Party’s
             competitor for purposes other than this Action, and is not anticipated to become an
             employee of a Party, an affiliate of a Party hereto, or a Party’s competitor; (2) before
             access is given, the consultant or expert has completed the Undertaking attached as
             Appendix A hereto and the same is served upon the producing Party with (i) a current
             curriculum vitae of the consultant or expert; (ii) identification of the full name of
             the expert or consultant and the city or state of his or her primary residence; (iii)
             identification of the expert or consultant’s current employer(s); (iv) identification
             of each person or entity from whom the expert or consultant has received
             compensation or funding for work in his or her areas of expertise or to whom the
             expert or consultant has provided professional services, including in connection
             with a litigation, at any time during the preceding five years and the party to the
             litigation for whom such work was done; (v) identification (by name and number
             of the case, filing date, and location of court) of any litigation in connection with
             which the expert or consultant has offered testimony, including through a
             declaration, report, or testimony at a deposition or trial, during the preceding five
             years; and (vi) identification of any patents or patent applications in which the
             expert or consultant is identified as an inventor or applicant, is involved in
             prosecuting or maintaining, or has any pecuniary interest. Should the expert or
             consultant believe any of the information required by this subparagraph is subject
             to a confidentiality obligation to a third party, then the expert or consultant should
             provide whatever information he or she believes can be disclosed without violating
             any confidentiality agreements, and the Party seeking to disclose the expert or
             consultant shall be available to meet and confer with the producing Party regarding
             any such information. The information required by section (2) of this subparagraph
             shall be provided to the producing Party at least ten (10) business days before
             access to the Protected Material is to be given to that consultant so that the
             producing Party has an opportunity to object to and notify the receiving Party in
             writing that it objects to disclosure of Protected Material to the consultant or expert.
             The Parties agree to promptly confer and use good faith to resolve any such
             objection. If the Parties are unable to resolve any objection, the objecting Party
             may file a motion with the Court within fifteen (15) days of receipt of the notice, or
             within such other time as the Parties may agree, seeking a protective order with
             respect to the proposed disclosure. The objecting Party shall have the burden of
             proving the need for a protective order. No disclosure shall occur until all such
             objections are resolved by agreement or Court order.

       (f)   Independent litigation support services, including persons working for or as court
             reporters, graphics or design services, jury or trial consulting services (including
             mock jurors), interpreters or translators (provided such interpreter or translator has
             also completed the Undertaking attached hereto as Appendix A), and photocopy,
             document imaging, and database services retained by counsel and reasonably
             necessary to assist counsel with the litigation of this Action; provided, however,
             that no person who is a Party or a director, officer, managing agent, or other
             employee of a Party or Party’s competitor may be retained within the meaning of


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              this subparagraph.

       (g)    The Court and its personnel.

6.     A Party shall designate documents, information, or material as “CONFIDENTIAL”

       only upon a good faith belief that the documents, information, or material contains

       confidential, commercially sensitive, or proprietary information of the Party or a Third

       Party to whom the Party reasonably believes it owes an obligation of confidentiality with

       respect to such documents, information, or material.

7.     Documents, information, or material produced pursuant to any discovery request in this

       Action, including but not limited to Protected Material designated as DESIGNATED

       MATERIAL, shall be used by the Parties only in the litigation of this Action and shall not

       be used for any other purpose. Any person or entity who obtains access to DESIGNATED

       MATERIAL or the contents thereof pursuant to this Order shall not make any copies,

       duplicates, extracts, summaries, or descriptions of such DESIGNATED MATERIAL or any

       portion thereof except as may be reasonably necessary in the litigation of this Action. Any

       such copies, duplicates, extracts, summaries, or descriptions shall be classified

       DESIGNATED MATERIALS and subject to all of the terms and conditions of this Order.

8.     To the extent a producing Party believes that certain Protected Material qualifying to be

       designated CONFIDENTIAL is so sensitive that its dissemination deserves even further

       limitation, the producing Party may designate such Protected Material “CONFIDENTIAL

       - ATTORNEYS’ EYES ONLY.”

9.     For Protected Material designated CONFIDENTIAL - ATTORNEYS’ EYES ONLY,

       access to, and disclosure of, such Protected Material shall be limited to individuals listed

       in paragraphs 5(a-c) and (e-g).



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10.    For Protected Material designated CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES

       ONLY, access to, and disclosure of, such Protected Material shall be limited to individuals

       listed in paragraphs 5(a-b) and (e-g); provided, however, that the designating Party shall

       accommodate reasonable requests to provide summary information to in-house counsel

       designated pursuant to paragraph 5(c) who exercise no competitive decision-making

       authority on behalf of the client and reasonably require access to such information.

11.    Any attorney representing a Party and any person associated with a Party and permitted

       to receive the other Party’s Protected Material that is designated CONFIDENTIAL -

       ATTORNEYS’ EYES ONLY and/or CONFIDENTIAL - OUTSIDE ATTORNEYS’

       EYES ONLY (collectively “HIGHLY SENSITIVE MATERIAL”), who obtains, receives,

       has access to, or otherwise learns, in whole or in part, the other Party’s HIGHLY

       SENSITIVE MATERIAL under this Order shall not prepare, prosecute, supervise, or assist

       in the preparation or prosecution of any patent application pertaining to the field of the

       invention of the patents-in-suit on behalf of the receiving Party or its acquirer, successor,

       predecessor, or other affiliate during the pendency of this Action and for one year after its

       conclusion, including any appeals.        To ensure compliance with the purpose of this

       provision, each Party shall create an “Ethical Wall” between those persons with access to

       HIGHLY SENSITIVE MATERIAL and any individuals who, on behalf of the Party or its

       acquirer, successor, predecessor, or other affiliate, prepare, prosecute, supervise or assist in

       the preparation or prosecution of any patent application as described above. Nothing in this

       Order shall prevent a person with access to HIGHLY SENSITIVE MATERIAL from

       participating in a PTO proceeding, e.g., IPR or PGR, except for that person shall not

       participate—directly or indirectly—in the amendment of any claim(s).



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12.    Nothing in this Order shall require production of documents, information, or other material

       that a Party contends is protected from disclosure by the attorney-client privilege, the work

       product doctrine, or other privilege, doctrine, or immunity. If documents, information, or

       other material subject to a claim of attorney-client privilege, work product doctrine, or other

       privilege, doctrine, or immunity is inadvertently or unintentionally produced, such

       production shall in no way prejudice or otherwise constitute a waiver of, or estoppel as to,

       any such privilege, doctrine, or immunity. Any Party that inadvertently or unintentionally

       produces documents, information, or other material it reasonably believes are protected

       under the attorney-client privilege, work product doctrine, or other privilege, doctrine, or

       immunity may request the destruction of such documents, information, or other

       material by promptly notifying the recipient(s) in writing and providing a privilege log

       for the inadvertently or unintentionally produced documents, information, or other

       material.    The recipient(s) shall immediately gather and destroy all copies of such

       documents, information, or other material and shall confirm in writing to the producing

       Party that it has done so within two (2) business days. In addition, information that

       contains privileged matter or attorney work product shall be destroyed immediately by the

       receiving Party if such information appears on its face to have been inadvertently

       produced, and within two (2) business days notify the producing Party in writing that it

       has done so. Pursuant to Federal Rule of Evidence 502(d) and (e), the production of a

       privileged or work product protected document is not a waiver of privilege or protection

       from discovery in this case or in any other federal proceeding. For example, the mere

       production of privileged or work product protected documents in this case as part of a

       mass production is not itself a waiver in this case or any other federal or state proceeding.


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13.    No privileged communications, information, and/or attorney work product that was either

       (1) created or conveyed subsequent to the filing of the Action or (2) is between a Party and

       its counsel of record relating to the litigation, need be identified on a privilege log, except

       as otherwise agreed by the Parties or ordered by the Court.

14.    There shall be no disclosure of any DESIGNATED MATERIAL by any person authorized

       to have access thereto to any person who is not authorized for such access under this Order.

       The Parties are hereby ORDERED to safeguard all such documents, information, and

       material to protect against disclosure to any unauthorized persons or entities.

15.    Nothing contained herein shall be construed to prejudice any Party’s right to use any

       DESIGNATED MATERIAL in taking testimony at any deposition or hearing provided that

       the DESIGNATED MATERIAL is only disclosed to a person(s) who is: (i) eligible to have

       access to the DESIGNATED MATERIAL by virtue of his or her employment with the

       designating Party; (ii) identified in the DESIGNATED MATERIAL as an author, addressee,

       or copy recipient of such information; (iii) although not identified as an author, addressee,

       or copy recipient of such DESIGNATED MATERIAL, has, in the ordinary course of

       business, seen such DESIGNATED MATERIAL; (iv) a current or former officer, director

       or employee of the producing Party or a current or former officer, director, or employee

       of a company affiliated with the producing Party; (v) counsel for a Party, including outside

       counsel and in-house counsel (subject to paragraph 9 of this Order); (vi) an independent

       contractor, consultant, and/or expert retained for the purpose of this litigation who has

       been approved to receive DESIGNATED MATERIAL pursuant to paragraph 5(e) of this

       Order; (vii) court reporters and videographers; (viii) the Court; or (ix) other persons

       entitled hereunder to access to DESIGNATED MATERIAL.                          DESIGNATED


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       MATERIAL shall not be disclosed to any other persons unless prior authorization is

       obtained from counsel representing the producing Party or from the Court.

16.    Parties may, at the deposition or hearing or within thirty (30) days after receipt of a

       deposition or hearing transcript, designate the deposition or hearing transcript or any portion

       thereof as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” pursuant to this Order.

       Access to the deposition or hearing transcript so designated shall be limited in accordance

       with the terms of this Order. Until expiration of the 30-day period, the entire deposition

       or hearing transcript shall be treated as CONFIDENTIAL - OUTSIDE ATTORNEYS’

       EYES ONLY.

17.    Pursuant to the Court’s Amended Standing Order Regarding Filing Documents Under Seal

       and Redacted Public Versions dated March 7, 2022 (“Standing Order on Sealing”), any

       pretrial pleading, or any exhibit thereto, disclosing or relying on DESIGNATED

       MATERIAL that is filed with the Court shall be filed under seal and shall remain under

       seal until further order of the Court. The filing Party shall be responsible for informing the

       Clerk of the Court that the filing should be sealed and for placing the legend “FILED

       UNDER SEAL PURSUANT TO PROTECTIVE ORDER” above the caption and

       conspicuously on each page of the filing. Exhibits to a filing shall conform to the labeling

       requirements set forth in this Order. The Parties are to comply with the requirements of

       the Standing Order on Sealing regarding filing public versions of any materials so filed

       under seal.

18.    This Order applies to pretrial discovery. Nothing in this Order shall be deemed to prevent

       the Parties from introducing any DESIGNATED MATERIAL into evidence at the trial of


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       this Action, or from using any information contained in DESIGNATED MATERIAL at

       the trial of this Action, subject to any pretrial order issued by this Court.

19.    A Party may request in writing to the other Party that the designation given to any

       DESIGNATED MATERIAL be modified or withdrawn.                   If the designating Party does

       not agree to re-designation within ten (10) days of receipt of the written request, the

       requesting Party may apply to the Court for relief. Upon any such application to the Court,

       the burden shall be on the designating Party to show why its classification is proper. Such

       application shall be treated procedurally as a motion to compel pursuant to Federal Rule

       of Civil Procedure 37, subject to the Rule’s provisions relating to sanctions. In making

       such application, the requirements of the Federal Rules of Civil Procedure and the Local

       Rules of the Court shall be met. Pending the Court’s determination of the application, the

       designation of the designating Party shall be maintained.

20.    Each outside consultant or expert to whom DESIGNATED MATERIAL is disclosed in

       accordance with the terms of this Order shall be advised by counsel of the terms of this

       Order, shall be informed that they are subject to the terms and conditions of this Order, and

       shall sign an acknowledgment that they have received a copy of, have read, and have

       agreed to be bound by this Order. A copy of the acknowledgment form is attached as

       Appendix A.

21.    To the extent that any discovery is taken of persons who are not Parties to this Action

       (“Third Parties”) and in the event that such Third Parties contend the discovery sought

       involves commercially sensitive materials, trade secrets, confidential business

       information, or other proprietary information, then such Third Parties may agree to be

       bound by this Order. A Third Party’s use of this Order to protect its trade secrets,


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       confidential business information, or other proprietary information does not entitle that

       Third Party to access Protected Material produced by any Party in this Action.

22.    To the extent that discovery or testimony is taken of Third Parties, the Third Parties may

       designate as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       or “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY” any documents,

       information, or other material, in whole or in part, produced by such Third Parties. The

       Third Parties shall have ten (10) days after production of such documents, information, or

       other materials to make such a designation.     Until that time period lapses or until such a

       designation has been made, whichever occurs sooner, all documents, information, or other

       material so produced or given shall be treated as “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY” in accordance with this Order.

23.    A Party that receives documents from a Third Party pursuant to a subpoena will reproduce

       those documents to the other Party within five (5) business days of receipt.

24.    Within sixty (60) days of final termination of this Action, including any appeals, all

       DESIGNATED MATERIAL, including all copies, duplicates, abstracts, indexes, summaries,

       descriptions, and excerpts or extracts thereof (excluding excerpts or extracts incorporated

       into any privileged memoranda of the Parties), shall at the receiving Party’s election either

       be returned to the producing Party or be destroyed, and the receiving Party shall verify the

       return or destruction by letter furnished to the producing Party. Notwithstanding this

       provision, outside counsel for the Parties may retain all court papers and exhibits, trial

       transcripts, trial exhibits, expert reports, depositions transcripts (and exhibits thereto),

       consultant work product, and attorney work product (but not document productions),

       provided that any such materials are maintained and protected in accordance with the terms


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       of this Order.

25.    The failure to designate documents, information, or material in accordance with this Order

       and the failure to object to a designation at a given time shall not preclude the filing of a

       motion at a later date seeking to impose such designation or challenging the propriety

       thereof. The entry of this Order or the production of documents, information, or material

       hereunder shall in no way constitute a waiver of any objection to the furnishing thereof,

       all such objections being hereby preserved.

26.    Any Party knowing or believing that any other Party is in violation of or intends to violate

       this Order and has raised the question of violation or potential violation with the opposing

       Party and has been unable to resolve the matter by agreement may move the Court for such

       relief as may be appropriate in the circumstances.        Pending disposition of the motion by

       the Court, the Party alleged to be in violation of or intending to violate this Order shall

       discontinue the performance of and shall not undertake the further performance of any

       action alleged to constitute a violation of this Order.

27.    Production of DESIGNATED MATERIAL by any Party shall not be deemed a

       publication of the documents, information, or material (or the contents thereof) produced

       so as to void or make voidable whatever claim the Parties may have as to the proprietary and

       confidential nature of the documents, information, or other material or its contents.

28.    Nothing in this Order shall preclude or impede outside litigation counsel of record’s ability

       to communicate with or advise their client in connection with this litigation only based on

       such counsel’s review and evaluation of DESIGNATED MATERIAL, provided however,

       that such communications or advice shall not disclose or reveal the substance or content

       of any DESIGNATED MATERIAL other than as permitted under this Protective Order.


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29.    If any entity subpoenas or orders production of Protected Material from a receiving Party

       that the receiving Party has obtained subject to this Order, such Party shall (1) promptly

       notify the entity that issued the subpoena or order that some or all of the material covered

       by the subpoena or order is subject to this Protective Order and provide a copy of this

       Order, (2) promptly notify the producing Party of the pendency of the subpoena or order

       and provide a copy of the subpoena, and (3) provide the producing Party with a list of the

       DESIGNATED MATERIAL that the receiving Party believes it is obligated to produce.

       The receiving Party shall not produce the information until the producing Party shall have

       reasonable time, and no less than ten (10) business days, to object to or take other

       appropriate steps to protect the information. In responding to the subpoena or order, the

       receiving Party will take all reasonable measures to have such documents treated in

       accordance with the terms of this Order.

30.    After termination of this Action, the provisions of this Order shall continue to be binding

       except with respect to those documents and information that become a matter of public

       record. The Court retains and shall have continuing jurisdiction over the Parties and

       recipients of the DESIGNATED MATERIAL for enforcement of the provision of this

       Order following termination of this Action. All disputes concerning Protected Material

       produced under the protection of this Order shall be resolved by the Court. A Party may

       obtain injunctive relief against any such person violating or threatening to violate any of

       the terms of this Order.

31.    Nothing in this Order shall be construed to effect an abrogation, waiver, or limitation of any

       kind on the rights of each of the Parties to assert any applicable discovery or trial privilege.

32.    This Order will take effect when entered and is binding upon the Parties and their counsel,


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       all successors, executors, personal representative, administrators, heirs, legal

       representatives, assigns, subsidiaries, divisions, employees, agents, independent

       contractors, or other persons or organizations over which the Parties have control.

33.    Each of the Parties shall also retain the right to file a motion with the Court (a) to modify this

       Order to allow disclosure of DESIGNATED MATERIAL to additional persons or entities

       if reasonably necessary to prepare and present this Action; and (b) to apply for additional

       protection of DESIGNATED MATERIAL.



SIGNED on this 4th day of April, 2022.




                                                ALAN D ALBRIGHT
                                                UNITED STATES DISTRICT JUDGE




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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 MAXELL, LTD.,

         Plaintiff,
                                                  CIVIL ACTION NO. 6:21-cv-347-ADA
 v.                                               [LEAD CASE]

 AMPEREX TECHNOLOGY LIMITED,                      JURY TRIAL DEMANDED

         Defendant.


 AMPEREX TECHNOLOGY LIMITED,

         Plaintiff,
                                                  CIVIL ACTION NO. 6:21-cv-1007-ADA
 v.
                                                  JURY TRIAL DEMANDED
 MAXELL, LTD.,

         Defendant.



                                APPENDIX A
             UNDERTAKING OF EXPERTS OR CONSULTANTS REGARDING
                            PROTECTIVE ORDER

       I, ___________________________________________, declare that:

1.     My address is _________________________________________________________.

       My current employer is _________________________________________________.

       My current occupation is ________________________________________________.

2.     I have received a copy of the Protective Order in this action. I have carefully read and

       understand the provisions of the Protective Order.

3.     I will comply with all of the provisions of the Protective Order. I will hold in confidence,

       will not disclose to anyone not qualified under the Protective Order, and will use only for


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       purposes of this action any information designated as “CONFIDENTIAL,”

       “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL - OUTSIDE

       ATTORNEYS’ EYES ONLY” that is disclosed to me.

4.     Promptly upon termination of these actions, I will return all documents and things

       designated as “CONFIDENTIAL,” “CONFIDENTIAL - ATTORNEYS’ EYES ONLY,”

       “CONFIDENTIAL - OUTSIDE ATTORNEYS’ EYES ONLY,” or “CONFIDENTIAL -

       SOURCE CODE” that came into my possession, and all documents and things that I have

       prepared relating thereto, to the outside counsel for the Party by whom I am employed.

5.     I hereby submit to the jurisdiction of this Court for the purpose of enforcement of the

       Protective Order in this action.

I declare under penalty of perjury that the foregoing is true and correct.



Signature ________________________________________

Date ____________________________________________




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